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                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA

 IN RE: ROUNDUP PRODUCTS                             MDL Docket No. 2741
 LIABILITY LITIGATION
                                                     Case No. 3:16-MD-2741-VC

 This Document relates to:                           The Honorable Judge Vince
 Meghan Caruso, et al. v. Russo                      Chhabria
 Hardware, et al.
 USDC – NDIL No. 1:19-cv-7121                        PLAINTIFF’S PROPOSED
 USDC – NDCA No. 3:20-cv-01017-VC                    THIRD AMENDED
                                                     COMPLAINT AT LAW


            PROPOSED THIRD AMENDED COMPLAINT AT LAW

      NOW COMES the Plaintiff, MEGHAN CARUSO, Independent Executor of the

Estate of John Caruso, deceased, by and through her attorneys, ROMANUCCI &

BLANDIN, LLC, in her Second Amended Complaint against Defendants, RUSSO

HARDWARE, INC. d/b/a RUSSO POWER EQUIPMENT, INC., d/b/a RUSSO

POWER      EQUIPMENT,         d/b/a    GREEN        INDUSTRY           FINANCE   (“RUSSO”);

MONSANTO COMPANY, INC.; HOME DEPOT USA, INC.; MENARD, INC.; and

ARCHER PINES LANDSCAPING, INC;                       pleading hypothetically and in the

alternative, hereby states as follows.

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                                  INTRODUCTION

      1.    In 1970, Defendants MONSANTO COMPANY, INC.; MONSANTO

ILLINOIS PRODUCTION CO., LLC; MONSANTO PRODUCTION SUPPLY, LLC;

and MONSANTO TECHNOLOGY, LLC discovered the herbicidal properties of

glyphosate and began marketing it in products in 1974 under the brand name

Roundup®.

      2.    Since that time, Defendant Monsanto has marketed and sold

Roundup®, its formulations, and derivative products, including, but not limited to:

RoundUp Quick-Pro, Roundup Concentrate Poison Ivy and Tough Brush Killer 1,

Roundup Custom Herbicide, Roundup D-Pak Herbicide, Roundup Dry Concentrate,

Roundup Export Herbicide, Roundup Fence & Hard Edger 1, Roundup Garden Foam

Weed & Grass Killer, Roundup Grass and Weed Killer, Roundup Herbicide, Roundup

Original 2k Herbicide, Roundup Original II Herbicide, Roundup Pro Concentrate,

Roundup Prodry Herbicide, Roundup Promax, Roundup Quik Stik Grass and Weed

Killer, Roundup Quikpro Herbicide, Roundup Rainfast Concentrate Weed & Grass

Killer, Roundup Rainfast Super Concentrate Weed & Grass Killer, Roundup Ready-

to-Use Extended Control Weed & Grass Killer 1 Plus Weed Preventer, Roundup

Ready-to-Use Weed & Grass Killer, Roundup Ready-to-Use Weed and Grass Killer 2,

Roundup Ultra Dry, Roundup Ultra Herbicide, Roundup Ultramax, Roundup VM

Herbicide, Roundup Weed & Grass Killer Concentrate, Roundup Weed & Grass Killer

Concentrate Plus, Roundup Weed & Grass Killer Ready-to-Use Plus, Roundup Weed


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& Grass Killer Super Concentrate, Roundup Weed & Grass Killer 1 Ready-to-Use,

Roundup WSD Water Soluble Dry Herbicide Deploy Dry Herbicide, or any other

formulation of containing the active ingredient glyphosate, hereinafter referred to

collectively as, “Roundup®” and/or “Roundup.”

      3.     Roundup® is a non-selective herbicide used to kill weeds that commonly

compete with the growing of crops. By 2001, glyphosate had become the most-used

active ingredient in American agriculture with 85–90 millions of pounds used

annually. That number grew to 185 million pounds by 2007. As of 2013, glyphosate

was the world’s most widely used herbicide.

      4.     Defendant Monsanto is a multinational agricultural biotechnology

corporation based in St. Louis, Missouri. It is the world’s leading producer of

glyphosate. As of 2009, Defendant Monsanto was the world’s leading producer of

seeds, accounting for 27% of the world seed market. The majority of these seeds are

of the Roundup Ready® brand. The stated advantage of Roundup Ready® crops is

that they substantially improve a farmer’s ability to control weeds, since glyphosate

can be sprayed in the fields during the growing season without harming their crops.

In 2010, an estimated 70% of corn and cotton, and 90% of soybean fields in the United

States were Roundup Ready®.

      5.     Defendant Monsanto’s glyphosate products and glyphosate-based

formulations are registered in 130 countries and approved for use on over 100

different crops. They are ubiquitous in the environment. Numerous studies confirm


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that glyphosate is found in rivers, streams, and groundwater in agricultural areas

where Roundup® is used. It has been found in food, in the urine of agricultural

workers, and even in the urine of urban dwellers who are not in direct contact with

glyphosate.

       6.     On March 20, 2015, the International Agency for Research on Cancer

(“IARC”), an agency of the World Health Organization (“WHO”), issued an evaluation

of several herbicides, including glyphosate. That evaluation was based, in part, on

studies of exposures to glyphosate in several countries around the world and it has

traced the health implications from exposure to glyphosate since 2001.

       7.     On July 29, 2015, IARC issued the formal monograph relating to

glyphosate. In that monograph, the IARC Working Group provides a thorough review

of the numerous studies and data relating to glyphosate exposure in humans.

       8.     The IARC Working Group classified glyphosate as a Group 2A

carcinogen, which means that it is probably carcinogenic to humans. The IARC

Working Group concluded that the cancers most associated with glyphosate exposure

are   non-Hodgkin’s   lymphoma         and    other     hematopoietic        cancers,   including

lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell lymphoma, and

multiple myeloma.

       9.     The IARC evaluation is significant. It confirms what has been believed

for years: that glyphosate is toxic to humans.

       10.    More likely than not, glyphosate causes Diffuse large B-cell non-


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Hodgkin’s lymphoma.

         11.   More likely than not, glyphosate-based formulations cause Diffuse large

B-cell non-Hodgkin’s lymphoma.

         12.   More likely than not, Roundup causes Diffuse large B-cell non-

Hodgkin’s lymphoma.

         13.   Nevertheless, Defendant Monsanto, since it began selling Roundup®,

has represented it as safe to humans and the environment. Indeed, Defendant

Monsanto has repeatedly proclaimed and continues to proclaim to the world, and

particularly to United States consumers, that glyphosate-based herbicides, including

Roundup®, create no unreasonable risks to human health or to the environment.

                                       THE PARTIES

                                           Plaintiff

         14.   Plaintiff Megan Caruso is a citizen of the city of Chicago, County of Cook,

State of Illinois.

         15.   On October 19, 2017, John Caruso, then a 33-year-old-citizen of the city

of Chicago, County of Cook, State of Illinois, passed away as a result of Diffuse large

B cell non-Hodgkin’s lymphoma.

         16.   On and before October 19, 2017, Meghan Caruso was John Caruso’s

wife.

         17.   On October 25, 2018, Meghan Caruso was appointed the Independent

Executor of the Estate of John Caruso, deceased, by the Probate Division of the


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County Department of the Circuit Court of Cook County.

      18.    Decedent John Caruso worked for the University of Illinois at Chicago

(“UIC”) from 2008 through 2016 and regularly used Defendant Monsanto’s Roundup®

products that were sold to him and/or his employer by Defendant RUSSO.

                                        Defendants

      19.    MONSANTO COMPANY, INC. is a Delaware corporation, Illinois

Secretary of State ID No. 61261028, with its headquarters and principal place of

business in St. Louis, Missouri, authorized to do business in the State of Illinois that

conducted significant business in Cook County at all times relevant herein.

      20.    At all times relevant to this complaint, Defendant Monsanto discovered

the herbicidal properties of glyphosate and was the manufacturer of Roundup®.

      21.    Defendant Monsanto has regularly transacted and conducted business

within the state of Illinois for years, and has derived substantial revenue from goods

and products, including Roundup®, used in the State of Illinois for years.

      22.    Defendant Monsanto expected or should have expected their acts to have

consequences within the State of Illinois, and derived substantial revenue from

interstate commerce.

      23.    Defendant RUSSO is an Illinois corporation with its headquarters and

principal place of business in the County of Cook, State of Illinois.

      24.    At all times relevant to this complaint, Defendant RUSSO owned and

operated a supply business, and knowingly and intentionally sold Roundup® to


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decedent and/or the decedent’s employer, UIC, and exposed Plaintiff to Roundup’s®

dangerous properties.

      25.     Plaintiff is informed and believes that Defendant RUSSO did sell,

advertise, and/or distribute Roundup® with full knowledge of its dangerous and

defective nature.

      26.     Plaintiff is informed and believes that Defendant RUSSO did sell,

market, and distribute Roundup® with full knowledge of its dangerous and defective

nature.

      27.     Plaintiff is informed and believes, and based therein alleges, that in

committing the acts alleged herein, each and every managing agent, agent,

representative and/or employee of the Defendants was working within the course and

scope of said agency, representation and/or employment with the knowledge, consent,

ratification, and authorization of the Defendants and their directors, officers and/or

managing agents.

      28.     Defendant HOME DEPOT USA, INC. (“HOME DEPOT’) is a Delaware

corporation with its headquarters and principal place of business in Atlanta, Georgia.

      29.     At all times relevant to this complaint, Defendant HOME DEPOT

owned and operated numerous supply businesses within Cook County, Illinois, and

knowingly and intentionally sold Roundup® to decedent and/or the decedent’s

employer, UIC, when it knew or should have known of Roundup’s® dangerous

properties.


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      30.    Plaintiff is informed and believes that Defendant HOME DEPOT did

sell, advertise, and/or distribute Roundup® to decedent and/or the decedent’s

employer, UIC, when it knew or should have known of its dangerous and defective

nature.

      31.    Plaintiff is informed and believes that Defendant HOME DEPOT did

sell, market, and distribute Roundup® when it knew or should have known of its

dangerous and defective nature.

      32.    Plaintiff is informed and believes, and based therein alleges, that in

committing the acts alleged herein, each and every managing agent, agent,

representative and/or employee of Defendant HOME DEPOT was working within the

course and scope of said agency, representation and/or employment with the

knowledge, consent, ratification, and authorization of Defendant HOME DEPOT and

its directors, officers and/or managing agents.

      33.    Defendant MENARD, INC. (“MENARD”) is a Wisconsin corporation

with its headquarters and principal place of business in the Eau Claire, Wisconsin.

      34.    At all times relevant to this complaint, Defendant MENARD owned and

operated numerous supply businesses within Cook County, Illinois, and knowingly

and intentionally sold Roundup® to decedent and/or the decedent’s employer, UIC,

when it knew or should have known of Roundup’s® dangerous properties.

      35.    Plaintiff is informed and believes that Defendant MENARD did sell,

advertise, and/or distribute Roundup® to decedent and/or the decedent’s employer,


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UIC, when it knew or should have known of its dangerous and defective nature.

      36.    Plaintiff is informed and believes that Defendant MENARD did sell,

market, and distribute Roundup® when it knew or should have known of its

dangerous and defective nature.

      37.    Plaintiff is informed and believes, and based therein alleges, that in

committing the acts alleged herein, each and every managing agent, agent,

representative and/or employee of Defendant MENARD was working within the

course and scope of said agency, representation and/or employment with the

knowledge, consent, ratification, and authorization of Defendant MENARD and its

directors, officers and/or managing agents.

      38.    Defendant ARCHER PINES LANDSCAPING, INC. (“ARCHER”) is an

Illinois corporation with its headquarters and principal place of business in the

County of Will, State of Illinois.

      39.    At all times relevant to this complaint, Defendant ARCHER owned and

operated a landscaping company in and around the Chicagoland area and used

Roundup® on the UIC campus when it knew or should have known of Roundup’s®

dangerous properties.

      40.    Plaintiff is informed and believes that Defendant ARCHER did use

Roundup® on the UIC campus when it knew or should have known of its dangerous

and defective nature.

      41.    Plaintiff is informed and believes, and based therein alleges, that in


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committing the acts alleged herein, each and every managing agent, agent,

representative and/or employee of Defendant ARCHER was working within the

course and scope of said agency, representation and/or employment with the

knowledge, consent, ratification, and authorization of the Defendant ARCHER and

their directors, officers and/or managing agents.

                             PERSONAL JURISDICTION

       42.    The Circuit Court of Cook County has jurisdiction over Defendant

Monsanto because the Monsanto entities named as defendants in this care are foreign

corporations authorized to do business in Illinois and registered with the Illinois

Secretary of State, and/or have sufficient minimum contacts in Illinois, or otherwise

intentionally avails itself of the Illinois market so as to render the exercise of

jurisdiction over it by the Illinois courts consistent with traditional notions of fair

play and substantial justice.

       43.    The Circuit Court of Cook County has jurisdiction over Defendant

RUSSO because it is a corporation and/or entity organized under the laws of the State

of Illinois, registered with the Illinois Secretary of State, and has sufficient minimum

contacts in Illinois.

                                            VENUE

       44.    Venue is proper in this Court pursuant to the Illinois Code of Civil

Procedure in that the Defendant RUSSO has its principal place of business in Cook

County, Illinois and its registered agent is located in Cook County, Illinois.


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      45.    Venue is further proper as Defendant Monsanto’s Roundup® used by

Decedent John Caruso was, upon information and belief, sold to decedent John

Caruso and/or his employer, the UIC, by Defendant RUSSO, which is located in Cook

County, Illinois.

      46.    Venue is further proper as Defendant Monsanto’s Roundup® used by

Defendant ARCHER PINES was used in Cook County.

      47.    Venue is further proper as Defendant ARCHER’s use of Roundup on the

UIC campus took place in Cook County, Illinois.

      48.    Moreover, venue is proper because decedent John Caruso’s exposure to

Defendant Monsanto’s Roundup® product through his own use and Defendant

ARCHER’s use of Roundup®, resultant diagnosis with Diffuse large B cell non-

Hodgkin’s lymphoma, and death all took place in Cook County.

                       FACTS COMMON TO ALL COUNTS

      49.    Glyphosate is a broad-spectrum, non-selective herbicide used in a wide

variety of herbicidal products around the world.

      50.    Plants treated with glyphosate translocate the systemic herbicide to

their roots, shoot regions and fruit, where it interferes with the plant’s ability to form

aromatic amino acids necessary for protein synthesis. Treated plants generally die

within two to three days. Because plants absorb glyphosate, it cannot be completely

removed by washing or peeling produce or by milling, baking, or brewing grains.

      51.    For nearly 40 years, farms across the world have used Roundup®


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without knowing of the dangers its use poses. That is because when Defendant

Monsanto first introduced Roundup®, it touted glyphosate as a technological

breakthrough: it could kill almost every weed without causing harm either to people

or to the environment. Of course, history has shown that not to be true. According to

the WHO, the main chemical ingredient of Roundup®—glyphosate—is a probable

cause of cancer. Those most at risk are farm workers and other individuals with

workplace exposure to Roundup®, such as workers in garden centers, nurseries, and

landscapers. Agricultural workers are, once again, victims of corporate greed.

Defendant Monsanto assured the public that Roundup® was harmless. In order to

prove this, Defendant Monsanto championed falsified data and attacked legitimate

studies that revealed its dangers. Defendant Monsanto led a prolonged campaign of

misinformation to convince government agencies, farmers and the general population

that Roundup® was safe.

         The Discovery of Glyphosate and Development of Roundup®

      52.    The herbicidal properties of glyphosate were discovered in 1970 by

Defendant Monsanto chemist John Franz. The first glyphosate-based herbicide was

introduced to the market in the mid-1970s under the brand name Roundup®. From

the outset, Defendant Monsanto marketed Roundup® as a “safe” general-purpose

herbicide for widespread commercial and consumer use. It still markets Roundup®

as safe today.

                 Registration of Herbicides under Federal Law


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      53.    The manufacture, formulation, and distribution of herbicides, such as

Roundup®, are regulated under the Federal Insecticide, Fungicide, and Rodenticide

Act (“FIFRA” or “Act”), 7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be

registered with the Environmental Protection Agency (“EPA” or “Agency”) prior to

their distribution, sale, or use, except as described by the Act. 7 U.S.C. § 136a(a)

      54.    Because pesticides are toxic to plants, animals, and humans, at least to

some degree, the EPA requires as part of the registration process, among other

things, a variety of tests to evaluate the potential for exposure to pesticides, toxicity

to people and other potential non-target organisms, and other adverse effects on the

environment. Registration by the EPA, however, is not an assurance or finding of

safety. The determination the Agency must make in registering or re-registering a

product is not that the product is “safe,” but rather that use of the product in

accordance with its label directions “will not generally cause unreasonable adverse

effects on the environment.” 7 U.S.C. § 136a(c)(5)(D).

      55.    FIFRA defines “unreasonable adverse effects on the environment” to

mean “any unreasonable risk to man or the environment, taking into account the

economic, social, and environmental costs and benefits of the use of any pesticide.” 7

U.S.C. § 136(bb). FIFRA thus requires EPA to make a risk/benefit analysis in

determining whether a registration should be granted or allowed to continue to be

sold in commerce.

      56.    The EPA and the State of Illinois registered Roundup® for distribution,


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sale, and manufacture in the United States and the State of Illinois.

      57.    FIFRA generally requires that the registrant, Defendant Monsanto in

the case of Roundup®, conducts the health and safety testing of pesticide products.

The EPA has protocols governing the conduct of tests required for registration and

the laboratory practices that must be followed in conducting these tests. The data

produced by the registrant must be submitted to the EPA for review and evaluation.

The government is not required, nor is it able, however, to perform the product tests

that are required of the manufacturer.

      58.    The evaluation of each pesticide product distributed, sold, or

manufactured is completed at the time the product is initially registered. The data

necessary for registration of a pesticide has changed over time. The EPA is now in

the process of re-evaluating all pesticide products through a Congressionally-

mandated process called “re-registration.” 7 U.S.C. § 136a-1. In order to reevaluate

these pesticides, the EPA is demanding the completion of additional tests and the

submission of data for the EPA’s review and evaluation.

      59.    In the case of glyphosate, and therefore Roundup®, the EPA had

planned on releasing its preliminary risk assessment —in relation to the

reregistration process—no later than July 2015. The EPA completed its review of

glyphosate in early 2015, but it delayed releasing the risk assessment pending further

review in light of the WHO’s health-related findings.

            Scientific Fraud Underlying the Marketing and Sale of


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                                Glyphosate/Roundup

      60.    Based on early studies that glyphosate could cause cancer in laboratory

animals, the EPA originally classified glyphosate as possibly carcinogenic to humans

(Group C) in 1985. After pressure from Defendant Monsanto, including contrary

studies it provided to the EPA, the EPA changed its classification to evidence of non-

carcinogenicity in humans (Group E) in 1991. In so classifying glyphosate, however,

the EPA made clear that the designation did not mean the chemical does not cause

cancer: “It should be emphasized, however, that designation of an agent in Group E

is based on the available evidence at the time of evaluation and should not be

interpreted as a definitive conclusion that the agent will not be a carcinogen under

any circumstances.”

      61.    On two occasions, the EPA found that the laboratories hired by

Defendant Monsanto to test the toxicity of its Roundup® products for registration

purposes committed fraud.

      62.    In the first instance, Defendant Monsanto, in seeking initial registration

of Roundup® by EPA, hired Industrial Bio-Test Laboratories (“IBT”) to perform and

evaluate pesticide toxicology studies relating to Roundup®. IBT performed about 30

tests on glyphosate and glyphosate-based formulations, including nine of the 15

residue studies needed to register Roundup®.

      63.    In 1976, the United States Food and Drug Administration (“FDA”)

performed an inspection of Industrial Bio-Test Industries (“IBT”) that revealed


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discrepancies between the raw data and the final report relating to the toxicological

impacts of glyphosate. The EPA subsequently audited IBT; it too found the toxicology

studies conducted for the Roundup® herbicide to be invalid. An EPA reviewer stated,

after finding “routine falsification of data” at IBT, that it was “hard to believe the

scientific integrity of the studies when they said they took specimens of the uterus

from male rabbits.”

      64.    Three top executives of IBT were convicted of fraud in 1983.

      65.    In the second incident of data falsification, Defendant Monsanto hired

Craven Laboratories in 1991 to perform pesticide and herbicide studies, including for

Roundup®. In that same year, the owner of Craven Laboratories and three of its

employees were indicted, and later convicted, of fraudulent laboratory practices in

the testing of pesticides and herbicides.

      66.    Despite the falsity of the tests that underlie its registration, within a

few years of its launch, Defendant Monsanto was marketing Roundup® in 115

countries.

The Importance of Roundup® to Defendant Monsanto’s Market Dominance
                               Profits

      67.    The success of Roundup® was key to Defendant Monsanto’s continued

reputation and dominance in the marketplace. Largely due to the success of

Roundup® sales, Defendant Monsanto’s agriculture division was out-performing its

chemicals division’s operating income, and that gap increased yearly. But with its

patent for glyphosate expiring in the United States in the year 2000, Defendant

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Monsanto needed a strategy to maintain its Roundup® market dominance and to

ward off impending competition.

      68.    In response, Defendant Monsanto began the development and sale of

genetically engineered Roundup Ready® seeds in 1996. Since Roundup Ready® crops

are resistant to glyphosate; farmers can spray Roundup® onto their fields during the

growing season without harming the crop. This allowed Defendant Monsanto to

expand its market for Roundup® even further; by 2000, Defendant Monsanto’s

biotechnology seeds were planted on more than 80 million acres worldwide and nearly

70% of American soybeans were planted from Roundup Ready® seeds. It also secured

Defendant Monsanto’s dominant share of the glyphosate/Roundup® market through

a marketing strategy that coupled proprietary Roundup Ready® seeds with

continued sales of its Roundup® herbicide.

      69.    Through a three-pronged strategy of increased production, decreased

prices and by coupling Roundup® with Roundup Ready® seeds, Roundup® became

Defendant Monsanto’s most profitable product. In 2000, Roundup® accounted for

almost $2.8 billion in sales, outselling other herbicides by a margin of five to one, and

accounting for close to half of Defendant Monsanto’s revenue. Today, glyphosate

remains one of the world’s largest herbicides by sales volume.

  Defendant Monsanto has known for decades that it falsely advertises the
                          safety of Roundup®

      70.    In 1996, the New York Attorney General (“NYAG”) filed a lawsuit

against Defendant Monsanto based on its false and misleading advertising of

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Roundup ® products. Specifically, the lawsuit challenged Defendant Monsanto’s

general representations that its spray-on glyphosate-based herbicides, including

Roundup®, were “safer than table salt” and “practically non-toxic” to mammals,

birds, and fish. Among the representations the NYAG found deceptive and misleading

about the human and environmental safety of Roundup® are the following:

            a) Remember that environmentally friendly Roundup herbicide is
               biodegradable. It won’t build up in the soil so you can use Roundup
               with confidence along customers’ driveways, sidewalks and fences …

            b) And remember that Roundup is biodegradable and won’t build up in
               the soil. That will give you the environmental confidence you need to
               use Roundup everywhere you’ve got a weed, brush, edging or
               trimming problem.

            c) Roundup biodegrades into naturally occurring elements.

            d) Remember that versatile Roundup herbicide stays where you put it.
               That means there’s no washing or leaching to harm customers’
               shrubs or other desirable vegetation.

            e) This non-residual herbicide will not wash or leach in the soil. It …
               stays where you apply it.

            f) You can apply Accord with “confidence because it will stay where you
               put it” it bonds tightly to soil particles, preventing leaching. Then,
               soon after application, soil microorganisms biodegrade Accord into
               natural products.

            g) Glyphosate is less toxic to rats than table salt following acute oral
               ingestion.

            h) Glyphosate’s safety margin is much greater than required. It has
               over a 1,000-fold safety margin in food and over a 700-fold safety
               margin for workers who manufacture it or use it.

            i) You can feel good about using herbicides by Monsanto. They carry a
               toxicity category rating of ‘practically non-toxic’ as it pertains to

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                  mammals, birds and fish.

               j) “Roundup can be used where kids and pets will play and breaks down
                  into natural material.” This ad depicts a person with his head in the
                  ground and a pet dog standing in an area which has been treated
                  with Roundup.

         71.   On November 19, 1996, Defendant Monsanto entered into an Assurance

of Discontinuance with NYAG, in which Defendant Monsanto agreed, among other

things, “to cease and desist from publishing or broadcasting any advertisements [in

New York] that represent, directly or by implication” that:

               a) its glyphosate-based pesticide products or any component thereof are
                  safe, non-toxic, harmless or free from risk.

               b) its glyphosate-based pesticide products or any component thereof
                  manufactured, formulated, distributed or sold by Monsanto are
                  biodegradable

               c) its glyphosate-based pesticide products or any component thereof
                  stay where they are applied under all circumstances and will not
                  move through the environment by any means.

               d) its glyphosate-based pesticide products or any component thereof are
                  “good” for the environment or are “known for their environmental
                  characteristics.”

               e) glyphosate-based pesticide products or any component thereof are
                  safer or less toxic than common consumer products other than
                  herbicides;

               f) its glyphosate-based formulations or any component thereof might
                  be classified as “practically non-toxic.”

         72.   Defendant Monsanto did not alter its advertising in the same manner

in any state other than New York, and on information and belief still has not done so

today.

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      73.    In 2009, France’s highest court ruled that Defendant Monsanto had not

told the truth about the safety of Roundup®. The French court affirmed an earlier

judgement that Defendant Monsanto had falsely advertised its herbicide Roundup®

as “biodegradable” and that it “left the soil clean.”

                 Classifications and Assessments of Glyphosate

      74.    The IARC process for the classification of glyphosate followed the

stringent procedures for the evaluation of a chemical agent. Over time, the IARC

Monograph program has reviewed 980 agents. Of those reviewed, it has determined

116 agents to be Group 1 (Known Human Carcinogens); 73 agents to be Group 2A

(Probable Human Carcinogens); 287 agents to be Group 2B (Possible Human

Carcinogens); 503 agents to be Group 3 (Not Classified); and one agent to be Probably

Not Carcinogenic.

      75.    The established procedure for IARC Monograph evaluations is described

in the IARC Programme’s Preamble. Evaluations are performed by panels of

international experts, selected on the basis of their expertise and the absence of

actual or apparent conflicts of interest.

      76.    One year before the Monograph meeting, the meeting is announced and

there is a call both for data and for experts. Eight months before the Monograph

meeting, the Working Group membership is selected and the sections of the

Monograph are developed by the Working Group members. One month prior to the

Monograph meeting, the call for data is closed and the various draft sections are


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distributed among Working Group members for review and comment. Finally, at the

Monograph meeting, the Working Group finalizes review of all literature, evaluates

the evidence in each category, and completes the overall evaluation. Within two

weeks after the Monograph meeting, the summary of the Working Group findings are

published in Lancet Oncology, and within a year after the meeting, the final

Monograph is finalized and published.

      77.    In assessing an agent, the IARC Working Group reviews the following

information: (a) human, experimental, and mechanistic data; (b) all pertinent

epidemiological studies and cancer bioassays; and (c) representative mechanistic

data. The studies must be publicly available and have sufficient detail for meaningful

review, and reviewers cannot be associated with the underlying study.

      78.    In March 2015, IARC reassessed glyphosate. The summary published in

The Lancet Oncology reported that glyphosate is a Group 2A agent and probably

carcinogenic in humans.

      79.    On July 29, 2015, IARC issued its Monograph for glyphosate,

Monograph 112. For Volume 112, the volume that assessed glyphosate, a Working

Group of 17 experts from 11 countries met at IARC from March 3–10, 2015, to assess

the carcinogenicity of certain herbicides, including glyphosate. The March meeting

culminated nearly a one-year review and preparation by the IARC Secretariat and

the Working Group, including a comprehensive review of the latest available

scientific evidence. According to published procedures, the Working Group considered


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“reports that have been published or accepted for publication in the openly available

scientific literature” as well as “data from governmental reports that are publicly

available.”

      80.     The studies considered the following exposure groups: occupational

exposure of farmers and tree nursery workers in the United States, forestry workers

in Canada and Finland and municipal weed-control workers in the United Kingdom;

and para-occupational exposure in farming families.

      81.     Glyphosate was identified as the second-most used household herbicide

in the United States for weed control between 2001 and 2007 and the most heavily

used herbicide in the world in 2012.

      82.     Exposure pathways are identified as air (especially during spraying),

water, and food. Community exposure to glyphosate is widespread and found in soil,

air, surface water, and groundwater, as well as in food.

      83.     The assessment of the IARC Working Group identified several case

control studies of occupational exposure in the United States, Canada, and Sweden.

These studies show a human health concern from agricultural and other work-related

exposure to glyphosate.

      84.     The IARC Working Group found an increased risk between exposure to

glyphosate and non-Hodgkin’s lymphoma (“NHL”) and several subtypes of NHL, and

the increased risk persisted after adjustment for other pesticides.

      85.     The IARC Working Group also found that glyphosate caused DNA and


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chromosomal damage in human cells. One study in community residents reported

increases in blood markers of chromosomal damage (micronuclei) after glyphosate

formulations were sprayed.

      86.    In male CD-1 mice, glyphosate induced a positive trend in the incidence

of a rare tumor, renal tubule carcinoma. A second study reported a positive trend for

hemangiosarcoma in male mice. Glyphosate increased pancreatic islet-cell adenoma

in male rats in two studies. A glyphosate formulation promoted skin tumors in an

initiation-promotion study in mice.

      87.    The IARC Working Group also noted that glyphosate has been detected

in the urine of agricultural workers, indicating absorption. Soil microbes degrade

glyphosate to aminomethylphosphoric acid (AMPA). Blood AMPA detection after

exposure suggests intestinal microbial metabolism in humans.

      88.    The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human

and animal cells in utero.

      89.    The IARC Working Group also noted genotoxic, hormonal, and

enzymatic effects in mammals exposed to glyphosate. Essentially, glyphosate inhibits

the biosynthesis of aromatic amino acids, which leads to several metabolic

disturbances, including the inhibition of protein and secondary product biosynthesis

and general metabolic disruption.

      90.    The IARC Working Group also reviewed an Agricultural Health Study,


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consisting of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and

North Carolina. While this study differed from others in that it was based on a self-

administered questionnaire, the results support an association between glyphosate

exposure and Multiple Myeloma, Hairy Cell Leukemia (HCL), and Chronic

Lymphocytic Leukemia (CLL), in addition to several other cancers.

   Other Earlier Findings About Glyphosate’s Dangers to Human Health

      91.    The EPA has a technical fact sheet, as part of its Drinking Water and

Health, National Primary Drinking Water Regulations publication, relating to

glyphosate. This technical fact sheet predates the IARC March 20, 2015, evaluation.

The fact sheet describes the release patterns for glyphosate as follows:

                                        Release Patterns

      Glyphosate is released to the environment in its use as an herbicide for

      controlling woody and herbaceous weeds on forestry, right-of-way, cropped and

      non-cropped sites. These sites may be around water and in wetlands. It may

      also be released to the environment during its manufacture, formulation,

      transport, storage, disposal and cleanup, and from spills. Since glyphosate is

      not a listed chemical in the Toxics Release Inventory, data on releases during

      its manufacture and handling are not available.

      Occupational workers and home gardeners may be exposed to glyphosate by

      inhalation and dermal contact during spraying, mixing, and cleanup. They

      may also be exposed by touching soil and plants to which glyphosate was


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      applied.    Occupational     exposure         may   also   occur       during   glyphosate’s

      manufacture, transport storage, and disposal.

      In 1995, the Northwest Coalition for Alternatives to Pesticides reported that

      in California, the state with the most comprehensive program for reporting of

      pesticide-caused illness, glyphosate was the third most commonly-reported

      cause of pesticide illness among agricultural workers.

                 Recent Worldwide Bans on Roundup®/Glyphosate

      92.    Several countries around the world have instituted bans on the sale of

Roundup® and other glyphosate-based herbicides, both before and since IARC first

announced its assessment for glyphosate in March 2015, and more countries

undoubtedly will follow suit in light of the as the dangers of the use of Roundup® are

more widely known.

      93.    The Netherlands issued a ban on all glyphosate-based herbicides in

April 2014, including Roundup®, which takes effect by the end of 2015. In issuing the

ban, the Dutch Parliament member who introduced the successful legislation stated:

“Agricultural pesticides in user-friendly packaging are sold in abundance to private

persons. In garden centers, Roundup® is promoted as harmless, but unsuspecting

customers have no idea what the risks of this product are. Especially children are

sensitive to toxic substances and should therefore not be exposed to it.”

      94.    The Brazilian Public Prosecutor in the Federal District requested that

the Brazilian Justice Department suspend the use of glyphosate.


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       95.    France banned the private sale of Roundup® and glyphosate following

the IARC assessment for Glyphosate.

       96.    Bermuda banned both the private and commercial sale of glyphosates,

including Roundup®. The Bermuda government explained its ban as follows:

“Following a recent scientific study carried out by a leading cancer agency, the

importation of weed spray ‘Roundup’ has been suspended.”

       97.    The Sri Lankan government banned the private and commercial use of

glyphosates, particularly out of concern that glyphosate has been linked to fatal

kidney disease in agricultural workers.

       98.    The government of Columbia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine,

because of the WHO’s finding that glyphosate is probably carcinogenic.

                                Russo Hardware, Inc.

       99.    Defendant RUSSO was, at all relevant times, engaged in the

distribution of Roundup®, Roundup Ready® crops, and other glyphosate-based

formulations from Defendant Monsanto to retailers and/or commercial/agricultural

users in Illinois.

       100.   Defendant RUSSO had superior knowledge compared to Roundup®

users and consumers, including the carcinogenic properties of the product, yet failed

to accompany its sales and/or marketing of Roundup with any warnings or

precautions for that grave danger.


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        101.    Defendant RUSSO was one of the distributors providing Roundup® and

glyphosate-based formulations actually used by decedent John Caruso.

        102.    Defendant RUSSO is “the premier power equipment and landscape

supply dealer of the Midwest.”1

        103.    Defendant RUSSO is part of the “Green Industry,” taking responsibility

for their environment.2

        104.    Far from just being a local distributor, Defendant RUSSO is a member

of numerous national organizations including the American Public Works Association

and the North American Trailer Dealers Association.3

        105.    Members of Defendant RUSSO’s business relationship development

(BRD) team attend trade shows and industry seminars.4

        106.    Employees of Defendant RUSSO’s impart product knowledge honed

through vendor training programs and periodic in-house training sessions led by

management.5

        107.    Upon information and belief, Defendant RUSSO was aware of the

IARC’s 2015 findings as it related to glyphosate and its dangerous and/or carcinogenic

qualities.

        108.    Upon information and belief, Defendant RUSSO was aware of other



1 https://www.russopower.com/about-us
2 Id.
3 Id.
4 https://outdoorpowerequipment.com/2016/05/09/unique-approach-keys-rise-of-russo-power-equipment/
5 Id.

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evidence of glyphosate and Roundup’s® dangerous and/or carcinogenic qualities.

       109.   At all relevant times, Defendant RUSSO had greater knowledge than

John Caruso as it related to the carcinogenicity of Roundup®.

       110.   Defendant RUSSO continued to sell Roundup® to John Caruso and/or

his employer even after the IARC finding regarding glyphosate in 2015.

       111.   Upon information and belief, Defendant RUSSO never warned,

disclosed, or otherwise notified its consumers, such as decedent John Caruso and/or

his employer, of the dangers associated with Roundup® and its active ingredient,

glyphosate, a Group 2A probable human carcinogen.

                                   Home Depot, Inc.

       112.   Defendant HOME DEPOT was, at all relevant times, engaged in the

distribution of Roundup®, Roundup Ready® crops, and other glyphosate-based

formulations from Defendant Monsanto to retailers and/or commercial/agricultural

users in Illinois.

       113.   Upon information and belief, Defendant HOME DEPOT had superior

knowledge compared to Roundup® users and consumers, including the carcinogenic

properties of the product, yet failed to accompany its sales and/or marketing of

Roundup with any warnings or precautions for that grave danger.

       114.   Upon information and belief, Defendant HOME DEPOT was one of the

distributors providing Roundup® and glyphosate-based formulations actually used

by decedent John Caruso.


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      115.   Defendant HOME DEPOT is the largest home improvement retailer in

the United States.

      116.   Defendant HOME DEPOT is one of the largest United States

Corporations by total revenue.

      117.   Defendant HOME DEPOT operates numerous stores in Illinois

including numerous in Cook County and within the City of Chicago.

      118.   Defendant HOME DEPOT, operating as a home improvement retailer,

sells products and goods that focus both on internal and external home

improvements.

      119.   Defendant HOME DEPOT sells, distributes, markets, and advertises

Roundup® as one such product and good that can be used for home improvement.

      120.   Operating as the largest home improvement retailer in the country,

upon information and belief, Defendant HOME DEPOT knew or should have known

of the IARC’s 2015 findings as it related to glyphosate and its dangerous and/or

carcinogenic qualities.

      121.   Upon information and belief, at all relevant times, Defendant HOME

DEPOT had greater knowledge than John Caruso as it related to the carcinogenicity

of Roundup®.

      122.   Upon information and belief, Defendant HOME DEPOT sold Roundup®

products to John Caruso and/or John Caruso’s employer, University of Illinois-

Chicago prior to John Caruso’s diagnosis with non-Hodgkin’s lymphoma.


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       123.   Upon information and belief, John Caruso used Roundup® products sold

by Defendant HOME DEPOT prior to his diagnosis with non-Hodgkin’s lymphoma.

       124.   Upon information and belief, Defendant HOME DEPOT knew or should

have known of other evidence of glyphosate and Roundup’s® dangerous and/or

carcinogenic qualities.

       125.   Upon information and belief, Defendant HOME DEPOT continued to

sell Roundup® to John Caruso and/or his employer even after the IARC finding

regarding glyphosate in 2015.

       126.   Upon information and belief, Defendant HOME DEPOT never warned,

disclosed, or otherwise notified its consumers, such as decedent John Caruso and/or

his employer, of the dangers associated with Roundup® and its active ingredient,

glyphosate, a Group 2A probable human carcinogen.

                                          Menard, Inc.

       127.   Defendant MENARD was, at all relevant times, engaged in the

distribution of Roundup®, Roundup Ready® crops, and other glyphosate-based

formulations from Defendant Monsanto to retailers and/or commercial/agricultural

users in Illinois.

       128.   Upon information and belief, Defendant MENARD had superior

knowledge compared to Roundup® users and consumers, including the carcinogenic

properties of the product, yet failed to accompany its sales and/or marketing of

Roundup with any warnings or precautions for that grave danger.


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      129.   Upon information and belief, Defendant MENARD was one of the

distributors providing Roundup® and glyphosate-based formulations actually used

by decedent John Caruso.

      130.   Defendant MENARD is a national home improvement retailer in the

United States, where it has approximately 350 stores in 15 states.

      131.   Defendant MENARD is one of the largest private companies in the

country with revenues in the billions of dollars.

      132.   Defendant MENARD operates numerous stores in Illinois including

numerous in Cook County and within the City of Chicago.

      133.   Defendant MENARD, operating as a home improvement retailer, sells

products and goods that focus both on internal and external home improvements.

      134.   Defendant MENARD sells, distributes, markets, and advertises

Roundup® as one such product and good that can be used for home improvement.

      135.   Operating as the largest home improvement retailer in the country,

upon information and belief, Defendant MENARD knew or should have known of the

IARC’s 2015 findings as it related to glyphosate and its dangerous and/or carcinogenic

qualities.

      136.   Upon information and belief, at all relevant times, Defendant MENARD

had greater knowledge than John Caruso as it related to the carcinogenicity of

Roundup®.

      137.   Upon information and belief, Defendant MENARD sold Roundup®


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products to John Caruso and/or John Caruso’s employer, University of Illinois-

Chicago prior to John Caruso’s diagnosis with non-Hodgkin’s lymphoma.

      138.   Upon information and belief, John Caruso used Roundup® products sold

by Defendant MENARD prior to his diagnosis with non-Hodgkin’s lymphoma.

      139.   Upon information and belief, Defendant MENARD knew or should have

known of other evidence of glyphosate and Roundup’s® dangerous and/or

carcinogenic qualities.

      140.   Upon information and belief, Defendant MENARD continued to sell

Roundup® to John Caruso and/or his employer even after the IARC finding regarding

glyphosate in 2015.

      141.   Upon information and belief, Defendant MENARD never warned,

disclosed, or otherwise notified its consumers, such as decedent John Caruso and/or

his employer, of the dangers associated with Roundup® and its active ingredient,

glyphosate, a Group 2A probable human carcinogen.

                             Archer Pines Landscaping, Inc.

      142.   At all relevant times, Defendant ARCHER was a landscaping company

that provided landscaping work at University of Illinois-Chicago, including using

Roundup® products around the campus.

      143.   Upon information and belief, Defendant ARCHER was, at all relevant

times, engaged in the use of Roundup®, and other glyphosate-based formulations

while working on the University of Illinois-Chicago campus.


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      144.   Upon information and belief, Defendant ARCHER had superior

knowledge compared to Roundup® users and consumers, including the carcinogenic

properties of the product, yet failed to accompany its use of Roundup with any

warnings or precautions for that grave danger.

      145.   Upon information and belief, Defendant ARCHER was one of the users

of Roundup® and glyphosate-based formulations that John Caruso was exposed to.

      146.   Upon information and belief, Defendant ARCHER knew or should have

known of the IARC’s 2015 findings as it related to glyphosate and its dangerous

and/or carcinogenic qualities.

      147.   Upon information and belief, Defendant ARCHER used Roundup®

products on the University of Illinois-Chicago campus prior to John Caruso’s

diagnosis with non-Hodgkin’s lymphoma.

      148.   Upon information and belief, Defendant ARCHER knew or should have

known of other evidence of glyphosate and Roundup’s® dangerous and/or

carcinogenic qualities.

      149.   Upon information and belief, Defendant ARCHER continued to use

Roundup® to John Caruso on the University of Illinois-Chicago campus even after

the IARC finding regarding glyphosate in 2015.

      150.   Upon information and belief, Defendant ARCHER never warned,

disclosed, or otherwise notified individuals, such as decedent John Caruso and/or his

employer, of the dangers associated with Roundup® and its active ingredient,


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glyphosate, a Group 2A probable human carcinogen.

                       John Caruso’s Exposure to Roundup®

      151.      For a period of eight years, John Caruso worked for UIC, mostly as a

member of the UIC Grounds Department, regularly working as a landscaper,

spraying Roundup products to the green space of the enormous campus’ 240 acres.

      152.      Throughout the spring, summer, and fall seasons of those eight years,

John Caruso would spray Roundup products on the campus’ 240 acres between ten

and twenty hours per week.

      153.      Upon information and belief, John Caruso was also exposed to Roundup

products being applied by Defendant ARCHER on the UIC campus.

      154.      John Caruso was also exposed to Defendant Monsanto’s Roundup

products sold by Defendants RUSSO, HOME DEPOT, MENARD, and other

distributors.

      155.      For the vast majority of the eight years John Caruso applied Roundup

products to the campus’ 240 acres, he was not given any personal protective

equipment to use, nor did he use any.

      156.      The Roundup products John Caruso was exposed to at UIC were

typically in concentrated form.

      157.      After eight years of consistent exposure to Roundup products, John

Caruso was diagnosed with Diffuse large B cell non-Hodgkin’s lymphoma.

      158.      On October 19, 2017, John Caruso passed away as a result of Stage IV


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Diffuse Large B Cell Lymphoma, leaving behind his wife, Meghan, and his infant son.

                                   COUNT I
                       WRONGFUL DEATH-NEGLIGENCE
                          (Estate of Caruso v. Russo)

      159.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      160.   Defendant RUSSO knew and/or should have known that it was

foreseeable that persons, such as decedent John Caruso, would suffer injuries as a

result of its failure to exercise ordinary care in the sale and distribution of glyphosate-

based formulations.

      161.   Decedent John Caruso did not know the nature and extent of the injuries

that could result from the intended use of and/or exposure to glyphosate.

      162.   At all times relevant to this litigation, Defendant RUSSO knew or, in

the exercise of reasonable care, should have known of the hazards and dangers of

glyphosate-based formulations and their carcinogenic properties.

      163.   Accordingly, at all times relevant to this litigation, Defendant RUSSO

knew or, in the exercise of reasonable care, should have known that use of or exposure

to the application of glyphosate-based formulations including Roundup could cause

or be associated with decedent John Caruso’s injuries and thus created a dangerous

and unreasonable risk of injury to the users of these products, including decedent

John Caruso.

      164.   Defendant RUSSO also knew or, in the exercise of reasonable care,


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should have known that users and those exposed to glyphosate-based formulations

including Roundup were unaware of the risks and the magnitude of the risks

associated with use of and/or exposure to those products.

      165.   It was the duty of the defendant, before and at the time of the

occurrences, to use ordinary care for the safety of the decedent, John Caruso.

      166.   Notwithstanding that duty, the defendant, RUSSO, committed one or

more of the following acts and/or omissions:

         a. Directly sold glyphosate-based formulations including Roundup to
            decedent John Caruso and/or indirectly sold glyphosate-based
            formulations to decedent’s employer, UIC;

         b. Failed to exercise reasonable care in the sale, marketing, warning, and
            distribution of glyphosate-based formulations including Roundup and
            exposure to glyphosate-based formulations including Roundup of
            decedent John Caruso and other persons;

         c. Failed to take all reasonable steps necessary to apply the products that
            was not unreasonably dangerous to persons present or nearby;

         d. Failed to provide accurate, true, and correct information concerning the
            risks of using or being exposed to glyphosate-based formulations
            including Roundup;

         e. Failed to provide appropriate, complete, and accurate warnings
            concerning the potential adverse effects of exposure to glyphosate-based
            formulations including Roundup;

         f. Failed to exercise ordinary care in the sale, marketing, warning, and
            distribution regarding the use of glyphosate-based products including
            Roundup;

         g. Sold, marketed, failed to warn, and distributed herbicides including
            Roundup containing the chemical glyphosate when it knew or had
            reason to know of the defects inherent in those products, knew or had
            reason to know that a user’s or consumer’s exposure to the products

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             created a significant risk of harm and unreasonably dangerous side
             effects, and failed to prevent or adequately warn of these risks and
             injuries; and/or

          h. Despite its ability and means to avoid applying glyphosate-based
             formulations including Roundup, failed to warn those exposed or those
             potentially exposed, and/or otherwise minimize the risks of exposure.

      167.   As a result of one or more of the following acts and/or omissions of

RUSSO, John Caruso, deceased, became ill with Diffuse large B cell non-Hodgkin’s

lymphoma.

      168.   As a result of extended and prolonged exposure to glyphosate and

glyphosate-based formulations including Roundup, John Caruso, deceased, became

ill with Diffuse Large B Cell non-Hodgkin’s Lymphoma.

      169.   Defendant RUSSO’s negligence was a proximate cause of the injuries,

harm, and economic losses that decedent John Caruso suffered, and that his estate

suffered and will continue to suffer, as described herein.

      170.   As a proximate result of Defendant RUSSO’s wrongful acts and

omissions, the Estate of John Caruso, including Meghan Caruso and his infant son

have suffered and continue to suffer pecuniary loss including without limitation the

loss of money, benefits, goods and services of John Caruso including lost income; lost

instruction, moral training, and superintendence of education; grief, sorrow, and

mental suffering; loss of consortium; and the considerable financial expenses for the

funeral and burial of a 33-year-old husband and father, for which they are entitled to

compensation from Defendant RUSSO. Plaintiff and decedent’s heirs will continue to


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incur these damages and expenses in the future.

      171.   Plaintiff, Meghan Caruso, as Independent Executor of the Estate of

John Caruso, deceased, brings this cause of action pursuant to the provisions of 740

ILCS 180/1, et seq., commonly known as the Illinois Wrongful Death Act.

   WHEREFORE,        the    plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendant, RUSSO HARDWARE, INC., in a fair and just

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any

further relief this court deems just.

                                      COUNT II
                             SURVIVAL-NEGLIGENCE
                             (Estate of Caruso v. Russo)

      172.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      173.   As a direct and proximate result of Defendant RUSSO’s acts and/or

omissions, decedent John Caruso, a 33-year-old husband and father, suffered injuries

of a personal and pecuniary nature including, without limitation, hospital, medical,

and related expenses; disability and disfigurement, pain and suffering, loss of normal

life, physical and emotional trauma that decedent John Caruso would have been

entitled to receive compensation from Defendant RUSSO for these injuries had he

survived.




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      174.   Plaintiff, Meghan Caruso, as Administrator of the Estate of John

Caruso, deceased, brings this cause of action pursuant to the provisions of 755 ILCS

5/27-6, commonly known as the Survival Act of Illinois.

   WHEREFORE,           the   plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendant, RUSSO HARDWARE, INC., in a fair and just

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any

further relief this court deems just.

                             COUNT III
        WRONGFUL DEATH-STRICT LIABILITY (DESIGN DEFECT)
                  (Estate of Caruso v. Monsanto)

      175.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      176.   Plaintiff brings this strict liability claim against Defendant Monsanto

for defective design.

      177.   John Caruso, deceased, developed Diffuse large B cell non-Hodgkin’s

lymphoma which caused him pain, suffering, disability, disfigurement, loss of normal

life and eventually resulted in his death as a result of using Monsanto’s Roundup

products.

      178.   At the time Monsanto’s Roundup products left its control, it was

unreasonably dangerous in that it was a carcinogenic glyphosate-based formulation.

      179.   At all times relevant to this litigation, Defendant Monsanto engaged in


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the business of testing, developing, designing, manufacturing, marketing, selling,

distributing, and promoting Roundup® products, which are defective and

unreasonably dangerous to consumers and laborers using the products, including

decedent John Caruso, thereby placing Roundup® products into the stream of

commerce. These actions were under the ultimate control and supervision of

Defendant Monsanto. At all times relevant to this litigation, Defendant Monsanto

designed, researched, developed, manufactured, produced, tested, assembled,

labeled, advertised, promoted, marketed, sold, and distributed the Roundup®

products that decedent John Caruso was exposed to, as described above.

      180.   At all times relevant to this litigation, Defendant Monsanto’s Roundup®

products were manufactured, designed, and labeled in an unsafe, defective, and

inherently dangerous manner that was dangerous for use by or exposure to the public,

and, in particular, the decedent, John Caruso.

      181.   At all times relevant to this litigation, Defendant’s Roundup® products

reached the intended consumers, handlers, and users or other persons coming into

contact with these products in Illinois and throughout the United States, including

decedent John Caruso, without substantial change in their condition as designed,

manufactured, sold, distributed, labeled, and marketed by Defendant.

      182.   Defendant Monsanto’s Roundup® products, as researched, tested,

developed, designed, licensed, manufactured, packaged, labeled, distributed, sold,

and marketed by Defendant Monsanto were defective in design and formulation in


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that when they left the hands of the Defendant Monsanto’s manufacturers and/or

suppliers, they were unreasonably dangerous and dangerous to an extent beyond that

which an ordinary consumer would contemplate.

        183.   Defendant Monsanto’s Roundup® products, as researched, tested,

developed, designed, licensed, manufactured, packaged, labeled, distributed, sold,

and marketed by Defendant Monsanto were defective in design and formulation in

that when they left the hands of Defendant Monsanto’s manufacturers and/or

suppliers, the foreseeable risks exceeded the alleged benefits associated with their

design and formulation.

        184.   At all times relevant to this action, Defendant Monsanto knew or had

reason to know that its Roundup® products were defective and were inherently

dangerous and unsafe when used in the manner instructed and provided by

Defendant Monsanto.

        185.   Therefore, at all times relevant to this litigation, Defendant Monsanto’s

Roundup®       products,     as    researched,      tested,     developed,       designed,   licensed,

manufactured, packaged, labeled, distributed, sold and marketed by Defendant

Monsanto were defective in design and formulation, in one or more of the following

ways:

               a. When placed in the stream of commerce, Defendant Monsanto’s
                  Roundup® products were defective in design and formulation, and,
                  consequently, dangerous to an extent beyond that which an ordinary
                  consumer would contemplate;

               b. When placed in the stream of commerce, Defendant Monsanto’s

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                   Roundup® products were unreasonably dangerous in that they were
                   hazardous and posed a grave risk of cancer and other serious
                   illnesses when used in a reasonably anticipated manner;

             c. When placed in the stream of commerce, Defendant Monsanto’s
                Roundup® products contained unreasonably dangerous design
                defects and were not reasonably safe when used in a reasonably
                anticipated or intended manner;

             d. Defendant Monsanto did not sufficiently test, investigate, or study
                its Roundup® products and, specifically, the active ingredient
                glyphosate;

             e. Exposure to Roundup® and glyphosate-based formulations presents
                a risk of harmful side effects including without limitation causing
                non-Hodgkin’s lymphoma, that outweigh any potential utility
                stemming from the use of the herbicide;

             f. Defendant Monsanto knew or should have known at the time of
                marketing its Roundup® products that exposure to Roundup® and
                specifically, its active ingredient glyphosate, could result in cancer
                and other severe illnesses and injuries;

             g. Defendant Monsanto did not conduct adequate post-marketing
                surveillance of its Roundup® products; and/or

             h. Defendant Monsanto could have employed safer alternative designs
                and formulations.

      186.   Decedent John Caruso was exposed to Defendant Monsanto’s Roundup®

products while working as a landscaper, without knowledge of its dangerous

characteristics.

      187.   At all times relevant to this litigation, decedent John Caruso was

exposed to the use of Defendant Monsanto’s Roundup® products in an intended or

reasonably foreseeable manner without knowledge of their dangerous characteristics.

      188.   Decedent John Caruso could not have reasonably discovered the defects

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and risks associated with Roundup® or glyphosate-based formulations before or at

the time of exposure.

      189.   The harm caused by Defendant Monsanto’s Roundup® products, non-

Hodgkin’s lymphoma, far outweighed their benefit, getting rid of weeds, rendering

Defendant Monsanto’s products dangerous to an extent beyond that which an

ordinary consumer would contemplate.

      190.   Defendant Monsanto’s Roundup® products were and are more

dangerous than alternative products and Defendant Monsanto could have designed

its Roundup® products to make them less dangerous. Indeed, at the time that

Defendant Monsanto designed its Roundup® products, the state of the industry’s

scientific knowledge was such that a less risky design or formulation was attainable.

      191.   At the time Roundup® products left Defendant Monsanto’s control,

there was a practical, technically feasible and safer alternative design that would

have prevented the harm without substantially impairing the reasonably anticipated

or intended function of Defendant Monsanto’s herbicides.

      192.   Therefore, as a result of the unreasonably dangerous condition of its

Roundup® products, Defendant Monsanto is strictly liable to Plaintiff.

      193.   The defects in Defendant Monsanto’s Roundup® products were

substantial and contributing factors in causing decedent John Caruso’s grave

injuries, including his Diffuse large B cell non-Hodgkin’s lymphoma, and, but for

Defendant Monsanto’s misconduct and omissions, decedent John Caruso and his


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estate would not have sustained their injuries.

      194.   Defendant Monsanto risked the lives of consumers and users of its

products, including decedent John Caruso, with knowledge of the safety problems

associated with Roundup® and glyphosate-based formulations, and suppressed this

knowledge from the general public.

      195.   As a proximate result of Defendant MONSANTO’s wrongful acts and

omissions, the Estate of John Caruso, including Meghan Caruso and his infant son

have suffered and continue to suffer pecuniary loss including without limitation the

loss of money, benefits, goods and services of John Caruso including lost income; lost

instruction, moral training, and superintendence of education; grief, sorrow, and

mental suffering; loss of consortium; and the considerable financial expenses for the

funeral and burial of a 33-year-old husband and father, for which they are entitled to

compensation from Defendant Monsanto. Plaintiff and decedent’s heirs will continue

to incur these damages and expenses in the future.

      196.   Plaintiff, Meghan Caruso, as Independent Executor of the Estate of

John Caruso, deceased, brings this cause of action pursuant to the provisions of 740

ILCS 180/1, et seq., commonly known as the Illinois Wrongful Death Act.

   WHEREFORE,        the   plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendants, MONSANTO COMPANY, INC. in a fair and just




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amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any

further relief this court deems just.


                              COUNT IV
        SURVIVAL ACTION-STRICT LIABILITY (DESIGN DEFECT)
                   (Estate of Caruso v. Monsanto)

      197.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      198.   As a direct and proximate result of Defendant Monsanto’s acts and/or

omissions, decedent John Caruso, a 33-year-old husband and father, suffered injuries

of a personal and pecuniary nature including, but not limited to hospital, medical,

and related expenses; disability and disfigurement, loss of normal life, pain and

suffering, physical and emotional trauma that decedent John Caruso would have

been entitled to receive compensation from Defendant Monsanto for these injuries

had he survived.

      199.   Plaintiff, Meghan Caruso, as Administrator of the Estate of John

Caruso, deceased, brings this cause of action pursuant to the provisions of 755 ILCS

5/27-6, commonly known as the Survival Act of Illinois.

   WHEREFORE,        the    plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendants, MONSANTO COMPANY, INC. in a fair and just

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any

further relief this court deems just.

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                            COUNT V
      WRONGFUL DEATH-STRICT LIABILITY (FAILURE TO WARN)
                 (Estate of Caruso v. Monsanto)

      200.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      201.   Plaintiff brings this strict liability claim against Defendant Monsanto

for failure to warn.

      202.   John Caruso, deceased, developed non-Hodgkin’s lymphoma which

caused him pain, suffering, loss of normal life, and eventually resulted in his death

as a result of using Monsanto’s Roundup products.

      203.   At the time Monsanto’s Roundup products left its control, it was

unreasonably dangerous in that it was a carcinogenic glyphosate-based formulation.

      204.   At all times relevant to this litigation, Defendant Monsanto engaged in

the business of testing, developing, designing, manufacturing, marketing, selling,

distributing, promoting and applying Roundup® products, which are defective and

unreasonably dangerous to consumers, including decedent John Caruso, because they

do not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup® and specifically, the active ingredient glyphosate. These

actions were under the ultimate control and supervision of Defendant Monsanto.

      205.   Defendant     Monsanto        researched,       developed,      designed,   tested,

manufactured, inspected, labeled, distributed, marketed, promoted, sold, and

otherwise released into the stream of commerce its Roundup® products, and in the


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course of same, directly advertised or marketed the products to consumers and end

users, including decedent John Caruso, and persons responsible for consumers (such

as employers), and therefore had a duty to warn of the risks associated with the use

of Roundup® and glyphosate-based formulations.

      206.   At all times relevant to this litigation, Defendant Monsanto had a duty

to properly test, develop, design, manufacture, inspect, package, label, market,

promote, sell, distribute, maintain supply, provide proper warnings, and take such

steps as necessary to ensure that Roundup® products did not cause users and

consumers to suffer from unreasonable and dangerous risks. Defendant Monsanto

had a continuing duty to warn decedent John Caruso of the dangers associated with

Roundup® use and exposure. Defendant Monsanto, as manufacturer, seller, or

distributor of chemical herbicides is held to the knowledge of an expert in the field.

      207.   At the time of manufacture, Defendant Monsanto could have provided

the warnings or instructions regarding the full and complete risks of Roundup® and

glyphosate-based formulations because they knew or should have known of the

unreasonable risks of harm associated with the use of and/or exposure to such

products.

      208.   At all times relevant to this litigation, Defendant Monsanto failed to

investigate, study, test, or promote the safety or to minimize the dangers to users and

consumers of this product and to those who would foreseeably use or be harmed by

Roundup, including decedent John Caruso.


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      209.   Despite the fact that Defendant Monsanto knew or should have known

that Roundup® posed a grave risk of harm, it failed to exercise reasonable care to

warn of the dangerous risks associated with use and exposure. The dangerous

propensities of its products and the carcinogenic characteristics of glyphosate, as

described above, were known to Defendant Monsanto, or scientifically knowable to

Defendant Monsanto through appropriate research and testing by known methods,

at the time it distributed, supplied or sold the product, and not known to end users

and consumers, such as decedent John Caruso.

      210.   Defendant Monsanto knew or should have known that these products

created significant risks of serious bodily harm to consumers, as alleged herein, and

Defendant Monsanto failed to adequately warn consumers and reasonably

foreseeable users of the risks of exposure to its products. Defendant Monsanto has

wrongfully concealed information concerning the dangerous nature of Roundup® and

its active ingredient glyphosate, and further made false and/or misleading statements

concerning the safety of Roundup® and glyphosate.

      211.   At all times relevant to this litigation, Defendant Monsanto’s Roundup®

products reached the intended consumers, handlers, and users or other persons

coming into contact with these products in Illinois and throughout the United States,

including decedent John Caruso, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, marketed and sprayed/applied by

Defendant Monsanto.


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      212.      Decedent John Caruso was exposed to Roundup® products, as described

above, without knowledge of their dangerous characteristics.

      213.      At all times relevant to this litigation, decedent John Caruso was

exposed to the use of Defendant Monsanto’s Roundup® products in their intended or

reasonably foreseeable manner without knowledge of their dangerous characteristics.

      214.      Decedent John Caruso could not have reasonably discovered the defects

and risks associated with Roundup® or glyphosate-based formulations prior to or at

the time of decedent John Caruso’s exposure due to this failure to warn. Decedent

John Caruso relied upon the skill, superior knowledge, and judgment of Defendant

Monsanto.

      215.      Defendant Monsanto knew or should have known that the minimal

warnings disseminated with or accompanying the application of Roundup® products

were inadequate, but they failed to communicate adequate information on the

dangers and safe use/exposure and failed to communicate warnings and instructions

that were appropriate and adequate to render the products safe for their ordinary,

intended and reasonably foreseeable uses, including agricultural and horticultural

applications.

      216.      The information that Defendant Monsanto did provide or communicate

failed to contain relevant warnings, hazards, and precautions that would have

enabled those exposed, such as decedent John Caruso, to utilize the products safely

and with adequate protection. Instead, Defendant Monsanto disseminated


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information that was inaccurate, false, and misleading and which failed to

communicate accurately or adequately the comparative severity, duration, and extent

of the risk of injuries with use of and/or exposure to Roundup® and glyphosate;

continued to aggressively promote the efficacy of its products, even after it knew or

should have known of the unreasonable risks from use or exposure; and concealed,

downplayed, or otherwise suppressed, through aggressive marketing and promotion,

any information or research about the risks and dangers of exposure to Roundup®

and glyphosate.

      217.    To this day, Defendant Monsanto has failed to adequately and

accurately warn of the true risks of decedent John Caruso’s injuries associated with

the use of and exposure to Roundup® and its active ingredient glyphosate, a probable

carcinogen.

      218.    As a result of their inadequate warnings, Roundup® products were

defective and unreasonably dangerous when they left the possession and/or control of

Defendant Monsanto, were distributed by Defendant Monsanto and when decedent

John Caruso became exposed.

      219.    Defendant Monsanto is liable to decedent John Caruso and his estate

for injuries caused by its failure, as described above, to provide adequate warnings or

other clinically relevant information and data regarding the appropriate use of their

products and the risks associated with the use of or exposure to Roundup®,

glyphosate and glyphosate-based formulations.


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      220.   The defects in these Roundup® products were substantial and

contributing factors in causing decedent John Caruso and his estate’s injuries, and,

but for Defendant Monsanto’s misconduct and omissions, decedent John Caruso and

his estate would not have sustained their injuries.

      221.   Had Defendant Monsanto provided adequate warnings and instructions

and properly disclosed and disseminated the risks associated with Roundup®

products and application, decedent John Caruso could have avoided the risk of

developing injuries as alleged herein and the company who employed decedent John

Caruso could have obtained alternative herbicides.

      222.   As a direct and proximate result of Defendant Monsanto placing its

defective Roundup into the stream of commerce without appropriate warnings as

further set forth above, the Estate of John Caruso, including Meghan Caruso and his

infant son, have suffered and continue to suffer pecuniary loss including without

limitation the loss of money, benefits, goods and services of John Caruso including

lost income; lost instruction, moral training, and superintendence of education; grief,

sorrow, and mental suffering; loss of consortium; and the considerable financial

expenses for the funeral and burial of a 33-year-old husband and father, for which

they are entitled to compensation from Defendant RUSSO. Plaintiff and decedent’s

heirs will continue to incur these damages and expenses in the future.




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      223.   Plaintiff, Meghan Caruso, as Independent Executor of the Estate of

John Caruso, deceased, brings this cause of action pursuant to the provisions of 740

ILCS 180/1, et seq., commonly known as the Illinois Wrongful Death Act.

   WHEREFORE,        the    plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendants, MONSANTO COMPANY, INC. in a fair and just

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any

further relief this court deems just.

                              COUNT VI
       SURVIVAL ACTION-STRICT LIABILITY (FAILURE TO WARN)
                   (Estate of Caruso v. Monsanto)

      224.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      225.   As a direct and proximate result of Defendant Monsanto’s acts and/or

omissions, decedent John Caruso, a 33-year-old husband and father, suffered injuries

of a personal and pecuniary nature including, without limitation, hospital, medical,

and related expenses; disability and disfigurement, pain and suffering, physical and

emotional trauma that decedent John Caruso would have been entitled to receive

compensation from Defendant Russo’s Monsanto for these injuries had he survived.

      226.   Plaintiff, Meghan Caruso, as Administrator of the Estate of John

Caruso, deceased, brings this cause of action pursuant to the provisions of 755 ILCS

5/27-6, commonly known as the Survival Act of Illinois.


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   WHEREFORE,        the    plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendants, MONSANTO COMPANY, INC. in a fair and just

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any

further relief this court deems just.

                                  COUNT VII
                       WRONGFUL DEATH-NEGLIGENCE
                        (Estate of Caruso v. Monsanto)

      227.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      228.   Defendant Monsanto, directly or indirectly, caused Roundup® products

to be sold, distributed, packaged, labeled, marketed, promoted, and/or used by

decedent John Caruso.

      229.   At all times relevant to this litigation, Defendant Monsanto knew or, in

the exercise of reasonable care, should have known of the hazards and dangers of

Roundup® and specifically, the carcinogenic properties of the chemical glyphosate.

      230.   Accordingly, at all times relevant, Monsanto knew or, in the exercise of

reasonable care, should have known that use of or exposure to its Roundup® products

could cause or be associated with decedent John Caruso’s injuries and thus created a

dangerous and unreasonable risk of injury to the users of these products, including

decedent John Caruso.

      231.   Defendant Monsanto also knew or, in the exercise of reasonable care,


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should have known that users and consumers of Roundup® were unaware of the risks

and the magnitude of the risks associated with use of and/or exposure to Roundup®

and glyphosate-based formulations.

      232.   It was the duty of the defendant, Monsanto, before and at the time of

the occurrences, to use ordinary care for the safety of the decedent, John Caruso.

      233.   Notwithstanding said duty, the defendant, Monsanto, committed one or

more of the following acts and/or omissions:

         a. Promoted, developed, designed, sold, and/or distributed its Roundup®
            products without thorough and adequate pre-and post-market testing;

         b. Promoted, developed, designed, sold, and/or distributed Roundup®
            while concealing and failing to disclose the results of trials, tests, and
            studies of exposure to glyphosate, and, consequently, the risk of serious
            harm associated with human use of and exposure to Roundup®;

         c. Failed to undertake sufficient studies and conduct necessary tests to
            determine whether or not Roundup® products and glyphosate-based
            formulations were safe for their intended use in agriculture and
            horticulture;

         d. Failed to use reasonable and prudent care in the design, research,
            manufacture, and development of Roundup® products so as to avoid the
            risk of serious harm associated with the prevalent use of
            Roundup®/glyphosate as an herbicide;

         e. Failed to design and manufacture Roundup® products so as to ensure
            they were at least as safe and effective as other herbicides on the
            market;

         f. Failed to provide adequate instructions, guidelines, and safety
            precautions to those persons who Defendant Monsanto could reasonably
            foresee would use and be exposed to its Roundup® products;

         g. Failed to disclose to decedent John Caruso, users/consumers, and the
            general public that use of and exposure to Roundup® presented severe

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               risks of cancer and other grave illnesses;

          h. Failed to warn decedent John Caruso, consumers, and the general public
             that the product’s risk of harm was unreasonable and that there were
             safer and effective alternative herbicides available to decedent John
             Caruso and other consumers;

          i. Systematically suppressed or downplayed contrary evidence about the
             risks, incidence, and prevalence of the side effects of Roundup® and
             glyphosate-based formulations;

          j. Represented that its Roundup® products were safe for their intended
             use when, in fact, Defendant Monsanto knew or should have known that
             the products were not safe for their intended purpose;

          k. Declined to make or propose any changes to Roundup® products’
             labeling or other promotional materials that would alert the consumers
             and the general public of the risks of Roundup® and glyphosate;

          l. Advertised, marketed, and recommended the use of the Roundup®
             products, while concealing and failing to disclose or warn of the dangers
             known by Defendant Monsanto to be associated with or caused by the
             use of or exposure to Roundup® and glyphosate;

          m. Continued to disseminate information to its consumers, which indicate
             or imply that Defendant Monsanto’s Roundup® products are not unsafe
             for use in the agricultural and horticultural industries; and/or

          n. Continued the manufacture and sale of its products with the knowledge
             that the products were unreasonably unsafe and dangerous.

       234.    As a result of one or more of the above acts and/or omissions, John

Caruso developed Diffuse large B cell non-Hodgkin’s lymphoma and eventually died

as a result.

       235.    Defendant Monsanto knew and/or should have known that it was

foreseeable that consumers, such as decedent John Caruso, would suffer injuries,

including without limitation non-Hodgkin’s lymphoma, as a result of Defendant

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Monsanto’s failure to exercise ordinary care.

      236.   Decedent John Caruso did not know the nature and extent of the injuries

that could result from the intended use of and/or exposure to Roundup® or its active

ingredient glyphosate.

      237.   Defendant Monsanto’s negligence was the proximate cause of the

injuries, harm, and economic losses that decedent John Caruso suffered, and his

estate has suffered and will continue to suffer, as described herein.

      238.   As a direct and proximate result of Defendant Monsanto’s acts and/or

omissions, the Estate of John Caruso, including Meghan Caruso and his infant son

have suffered and continue to suffer pecuniary loss including without limitation the

loss of money, benefits, goods and services of John Caruso including lost income; lost

instruction, moral training, and superintendence of education; grief, sorrow, and

mental suffering; loss of consortium; and the considerable financial expenses for the

funeral and burial of a 33-year-old husband and father, for which they are entitled to

compensation from Defendant RUSSO. Plaintiff and decedent’s heirs will continue to

incur these damages and expenses in the future.

      239.   Plaintiff, Meghan Caruso, as Independent Executor of the Estate of

John Caruso, deceased, brings this cause of action pursuant to the provisions of 740

ILCS 180/1, et seq., commonly known as the Illinois Wrongful Death Act.

   WHEREFORE,        the    plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment


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be entered against the defendants, MONSANTO COMPANY, INC. in a fair and just

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any

further relief this court deems just.

                                  COUNT VIII
                       SURVIVAL ACTION-NEGLIGENCE
                         (Estate of Caruso v. Monsanto)

      240.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      241.   As a direct and proximate result of Defendant Monsanto’s acts and/or

omissions, decedent John Caruso, a 33-year-old husband and father, suffered injuries

of a personal and pecuniary nature including, without limitation, hospital, medical,

and related expenses; disability and disfigurement, pain and suffering, physical and

emotional trauma that decedent John Caruso would have been entitled to receive

compensation from Defendant Russo’s for these injuries had he survived.

      242.   Plaintiff, Meghan Caruso, as Administrator of the Estate of John

Caruso, deceased, brings this cause of action pursuant to the provisions of 755 ILCS

5/27-6, commonly known as the Survival Act of Illinois.

   WHEREFORE,        the    plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendants, MONSANTO COMPANY, INC. in a fair and just

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any

further relief this court deems just.


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                                    COUNT IX
                       WRONGFUL DEATH-NEGLIGENCE
                        (Estate of Caruso v. Home Depot)

      243.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      244.   Defendant HOME DEPOT knew or, in the exercise of reasonable care,

should have known that it was foreseeable that persons, such as decedent John

Caruso, would suffer injuries as a result of its failure to exercise ordinary care in the

sale and distribution of glyphosate-based formulations.

      245.   Decedent John Caruso did not know the nature and extent of the injuries

that could result from the intended use of and/or exposure to glyphosate.

      246.   At all times relevant to this litigation, Defendant HOME DEPOT knew

or, in the exercise of reasonable care, should have known of the hazards and dangers

of glyphosate-based formulations and their carcinogenic properties.

      247.   Accordingly, at all times relevant to this litigation, Defendant HOME

DEPOT knew or, in the exercise of reasonable care, should have known that use of or

exposure to the application of glyphosate-based formulations including Roundup

could cause or be associated with decedent John Caruso’s injuries and thus created a

dangerous and unreasonable risk of injury to the users of these products, including

decedent John Caruso.

      248.   Defendant HOME DEPOT also knew or, in the exercise of reasonable

care, should have known that users and those exposed to glyphosate-based


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formulations including Roundup were unaware of the risks and the magnitude of the

risks associated with use of and/or exposure to those products.

      249.   It was the duty of the defendant, before and at the time of the

occurrences, to use ordinary care for the safety of the decedent, John Caruso.

      250.   Notwithstanding that duty, the defendant, HOME DEPOT, committed

one or more of the following acts and/or omissions:

         a. Directly sold glyphosate-based formulations including Roundup to
            decedent John Caruso and/or indirectly sold glyphosate-based
            formulations to decedent’s employer, UIC;

         b. Failed to exercise reasonable care in the sale, marketing, warning, and
            distribution of glyphosate-based formulations including Roundup and
            exposure to glyphosate-based formulations including Roundup of
            decedent John Caruso and other persons;

         c. Failed to provide accurate, true, and correct information concerning the
            risks of using or being exposed to glyphosate-based formulations
            including Roundup;

         d. Failed to provide appropriate, complete, and accurate warnings
            concerning the potential adverse effects of exposure to glyphosate-based
            formulations including Roundup;

         e. Failed to exercise ordinary care in the sale, marketing, warning, and
            distribution regarding the use of glyphosate-based products including
            Roundup;

         f. Sold, marketed, failed to warn, and distributed herbicides including
            Roundup containing the chemical glyphosate when it knew or had
            reason to know of the defects inherent in those products, knew or had
            reason to know that a user’s or consumer’s exposure to the products
            created a significant risk of harm and unreasonably dangerous side
            effects, and failed to prevent or adequately warn of these risks and
            injuries; and/or

         g. Despite its ability and means to avoid applying glyphosate-based

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             formulations including Roundup, failed to warn those exposed or those
             potentially exposed, and/or otherwise minimize the risks of exposure.

      251.   As a result of one or more of the following acts and/or omissions of

HOME DEPOT, John Caruso, deceased, became ill with Diffuse large B cell non-

Hodgkin’s lymphoma.

      252.   As a result of extended and prolonged exposure to glyphosate and

glyphosate-based formulations including Roundup, John Caruso, deceased, became

ill with Diffuse Large B Cell non-Hodgkin’s Lymphoma.

      253.   Defendant HOME DEPOT’s negligence was a proximate cause of the

injuries, harm, and economic losses that decedent John Caruso suffered, and that his

estate suffered and will continue to suffer, as described herein.

      254.   As a proximate result of Defendant HOME DEPOT’s wrongful acts and

omissions, the Estate of John Caruso, including Meghan Caruso and his infant son

have suffered and continue to suffer pecuniary loss including without limitation the

loss of money, benefits, goods and services of John Caruso including lost income; lost

instruction, moral training, and superintendence of education; grief, sorrow, and

mental suffering; loss of consortium; and the considerable financial expenses for the

funeral and burial of a 33-year-old husband and father, for which they are entitled to

compensation from Defendant HOME DEPOT. Plaintiff and decedent’s heirs will

continue to incur these damages and expenses in the future.




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      255.   Plaintiff, Meghan Caruso, as Independent Executor of the Estate of

John Caruso, deceased, brings this cause of action pursuant to the provisions of 740

ILCS 180/1, et seq., commonly known as the Illinois Wrongful Death Act.

   WHEREFORE,         the   plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendant, HOME DEPOT, INC., in a fair and just amount in

excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any further

relief this court deems just.

                                    COUNT X
                           SURVIVAL-NEGLIGENCE
                        (Estate of Caruso v. Home Depot)

      256.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      257.   As a direct and proximate result of Defendant HOME DEPOT’s acts

and/or omissions, decedent John Caruso, a 33-year-old husband and father, suffered

injuries of a personal and pecuniary nature including, without limitation, hospital,

medical, and related expenses; disability and disfigurement, pain and suffering, loss

of normal life, physical and emotional trauma that decedent John Caruso would have

been entitled to receive compensation from Defendant HOME DEPOT for these

injuries had he survived.




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      258.   Plaintiff, Meghan Caruso, as Administrator of the Estate of John

Caruso, deceased, brings this cause of action pursuant to the provisions of 755 ILCS

5/27-6, commonly known as the Survival Act of Illinois.

   WHEREFORE,         the   plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendant, HOME DEPOT, INC., in a fair and just amount in

excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any further

relief this court deems just.

                                  COUNT XI
                       WRONGFUL DEATH-NEGLIGENCE
                         (Estate of Caruso v. Menard)

      259.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      260.   Defendant MENARD knew or, in the exercise of reasonable care, should

have known that it was foreseeable that persons, such as decedent John Caruso,

would suffer injuries as a result of its failure to exercise ordinary care in the sale and

distribution of glyphosate-based formulations.

      261.   Decedent John Caruso did not know the nature and extent of the injuries

that could result from the intended use of and/or exposure to glyphosate.

      262.   At all times relevant to this litigation, Defendant MENARD knew or, in

the exercise of reasonable care, should have known of the hazards and dangers of

glyphosate-based formulations and their carcinogenic properties.


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      263.   Accordingly, at all times relevant to this litigation, Defendant MENARD

knew or, in the exercise of reasonable care, should have known that use of or exposure

to the application of glyphosate-based formulations including Roundup could cause

or be associated with decedent John Caruso’s injuries and thus created a dangerous

and unreasonable risk of injury to the users of these products, including decedent

John Caruso.

      264.   Defendant MENARD also knew or, in the exercise of reasonable care,

should have known that users and those exposed to glyphosate-based formulations

including Roundup were unaware of the risks and the magnitude of the risks

associated with use of and/or exposure to those products.

      265.   It was the duty of the defendant, before and at the time of the

occurrences, to use ordinary care for the safety of the decedent, John Caruso.

      266.   Notwithstanding that duty, the defendant, MENARD, committed one or

more of the following acts and/or omissions:

         a. Directly sold glyphosate-based formulations including Roundup to
            decedent John Caruso and/or indirectly sold glyphosate-based
            formulations to decedent’s employer, UIC;

         b. Failed to exercise reasonable care in the sale, marketing, warning, and
            distribution of glyphosate-based formulations including Roundup and
            exposure to glyphosate-based formulations including Roundup of
            decedent John Caruso and other persons;

         c. Failed to provide accurate, true, and correct information concerning the
            risks of using or being exposed to glyphosate-based formulations
            including Roundup;

         d. Failed to provide appropriate, complete, and accurate warnings

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             concerning the potential adverse effects of exposure to glyphosate-based
             formulations including Roundup;

          e. Failed to exercise ordinary care in the sale, marketing, warning, and
             distribution regarding the use of glyphosate-based products including
             Roundup;

          f. Sold, marketed, failed to warn, and distributed herbicides including
             Roundup containing the chemical glyphosate when it knew or had
             reason to know of the defects inherent in those products, knew or had
             reason to know that a user’s or consumer’s exposure to the products
             created a significant risk of harm and unreasonably dangerous side
             effects, and failed to prevent or adequately warn of these risks and
             injuries; and/or

          g. Despite its ability and means to avoid applying glyphosate-based
             formulations including Roundup, failed to warn those exposed or those
             potentially exposed, and/or otherwise minimize the risks of exposure.

      267.   As a result of one or more of the following acts and/or omissions of

MENARD, John Caruso, deceased, became ill with Diffuse large B cell non-Hodgkin’s

lymphoma.

      268.   As a result of extended and prolonged exposure to glyphosate and

glyphosate-based formulations including Roundup, John Caruso, deceased, became

ill with Diffuse Large B Cell non-Hodgkin’s Lymphoma.

      269.   Defendant MENARD’s negligence was a proximate cause of the injuries,

harm, and economic losses that decedent John Caruso suffered, and that his estate

suffered and will continue to suffer, as described herein.

      270.   As a proximate result of Defendant MENARD’s wrongful acts and

omissions, the Estate of John Caruso, including Meghan Caruso and his infant son

have suffered and continue to suffer pecuniary loss including without limitation the

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loss of money, benefits, goods and services of John Caruso including lost income; lost

instruction, moral training, and superintendence of education; grief, sorrow, and

mental suffering; loss of consortium; and the considerable financial expenses for the

funeral and burial of a 33-year-old husband and father, for which they are entitled to

compensation from Defendant MENARD. Plaintiff and decedent’s heirs will continue

to incur these damages and expenses in the future.

      271.   Plaintiff, Meghan Caruso, as Independent Executor of the Estate of

John Caruso, deceased, brings this cause of action pursuant to the provisions of 740

ILCS 180/1, et seq., commonly known as the Illinois Wrongful Death Act.

   WHEREFORE,        the   plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendant, MENARD, INC., in a fair and just amount in excess

of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any further relief this

court deems just.

                                    COUNT XII
                            SURVIVAL-NEGLIGENCE
                           (Estate of Caruso v. Menard)

      272.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      273.   As a direct and proximate result of Defendant MENARD’s acts and/or

omissions, decedent John Caruso, a 33-year-old husband and father, suffered injuries

of a personal and pecuniary nature including, without limitation, hospital, medical,


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and related expenses; disability and disfigurement, pain and suffering, loss of normal

life, physical and emotional trauma that decedent John Caruso would have been

entitled to receive compensation from Defendant MENARD for these injuries had he

survived.

      274.   Plaintiff, Meghan Caruso, as Administrator of the Estate of John

Caruso, deceased, brings this cause of action pursuant to the provisions of 755 ILCS

5/27-6, commonly known as the Survival Act of Illinois.

   WHEREFORE,        the   plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendant, MENARD, INC., in a fair and just amount in excess

of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs and any further relief this

court deems just.

                                 COUNT XIII
                      WRONGFUL DEATH-NEGLIGENCE
                        (Estate of Caruso v. ARCHER)

      275.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      276.   Defendant ARCHER knew or, in the exercise of reasonable care, should

have known that it was foreseeable that persons, such as decedent John Caruso,

would suffer injuries as a result of its failure to exercise ordinary care in the

application of glyphosate-based formulations.

      277.   Decedent John Caruso did not know the nature and extent of the injuries


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that could result from the intended use of and/or exposure to glyphosate.

      278.   At all times relevant to this litigation, Defendant ARCHER knew or, in

the exercise of reasonable care, should have known of the hazards and dangers of

glyphosate-based formulations and their carcinogenic properties.

      279.   Accordingly, at all times relevant to this litigation, Defendant ARCHER

knew or, in the exercise of reasonable care, should have known that use of or exposure

to the application of glyphosate-based formulations including Roundup could cause

or be associated with decedent John Caruso’s injuries and thus created a dangerous

and unreasonable risk of injury to the users of these products, including decedent

John Caruso.

      280.   Defendant ARCHER also knew or, in the exercise of reasonable care,

should have known that users and those exposed to glyphosate-based formulations

including Roundup were unaware of the risks and the magnitude of the risks

associated with use of and/or exposure to those products.

      281.   It was the duty of the defendant, before and at the time of the

occurrences, to use ordinary care for the safety of the decedent, John Caruso.

      282.   Notwithstanding that duty, the defendant, ARCHER, committed one or

more of the following acts and/or omissions:

         a. Directly applied glyphosate-based formulations including Roundup in
            areas that were foreseeable for individuals like decedent John Caruso to
            come into contact with it;

         b. Failed to take all reasonable steps necessary to apply the products that
            was not unreasonably dangerous to persons present or nearby;

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          c. Failed to provide accurate, true, and correct information concerning the
             risks of using or being exposed to glyphosate-based formulations
             including Roundup;

          d. Failed to provide appropriate, complete, and accurate warnings
             concerning the potential adverse effects of exposure to glyphosate-based
             formulations including Roundup;

          e. Failed to exercise ordinary care in the application of glyphosate-based
             products including Roundup;

          f. Applied herbicides including Roundup containing the chemical
             glyphosate when it knew or had reason to know of the defects inherent
             in those products, knew or had reason to know that exposure to the
             products created a significant risk of harm and unreasonably dangerous
             side effects, and failed to prevent or adequately warn of these risks and
             injuries; and/or

          g. Despite its ability and means to avoid applying glyphosate-based
             formulations including Roundup, failed to warn those exposed or those
             potentially exposed, and/or otherwise minimize the risks of exposure.

      283.   As a result of one or more of the following acts and/or omissions of

ARCHER, John Caruso, deceased, became ill with Diffuse large B cell non-Hodgkin’s

lymphoma.

      284.   As a result of extended and prolonged exposure to glyphosate and

glyphosate-based formulations including Roundup, John Caruso, deceased, became

ill with Diffuse Large B Cell non-Hodgkin’s Lymphoma.

      285.   Defendant ARCHER’s negligence was a proximate cause of the injuries,

harm, and economic losses that decedent John Caruso suffered, and that his estate

suffered and will continue to suffer, as described herein.

      286.   As a proximate result of Defendant ARCHER’s wrongful acts and

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omissions, the Estate of John Caruso, including Meghan Caruso and his infant son

have suffered and continue to suffer pecuniary loss including without limitation the

loss of money, benefits, goods and services of John Caruso including lost income; lost

instruction, moral training, and superintendence of education; grief, sorrow, and

mental suffering; loss of consortium; and the considerable financial expenses for the

funeral and burial of a 33-year-old husband and father, for which they are entitled to

compensation from Defendant ARCHER. Plaintiff and decedent’s heirs will continue

to incur these damages and expenses in the future.

      287.   Plaintiff, Meghan Caruso, as Independent Executor of the Estate of

John Caruso, deceased, brings this cause of action pursuant to the provisions of 740

ILCS 180/1, et seq., commonly known as the Illinois Wrongful Death Act.

   WHEREFORE,        the   plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendant, ARCHER PINES LANDSCAPING, INC., in a fair

and just amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs

and any further relief this court deems just.

                                    COUNT XIV
                             SURVIVAL-NEGLIGENCE
                           (Estate of Caruso v. ARCHER)

      288.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      289.   As a direct and proximate result of Defendant ARCHER’s acts and/or


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omissions, decedent John Caruso, a 33-year-old husband and father, suffered injuries

of a personal and pecuniary nature including, without limitation, hospital, medical,

and related expenses; disability and disfigurement, pain and suffering, loss of normal

life, physical and emotional trauma that decedent John Caruso would have been

entitled to receive compensation from Defendant ARCHER for these injuries had he

survived.

      290.   Plaintiff, Meghan Caruso, as Administrator of the Estate of John

Caruso, deceased, brings this cause of action pursuant to the provisions of 755 ILCS

5/27-6, commonly known as the Survival Act of Illinois.

   WHEREFORE,        the   plaintiff,    MEGHAN          CARUSO,        individually   and as

independent executor of the Estate of John Caruso, deceased, asks that a judgment

be entered against the defendant, ARCHER PINES LANDSCAPING, INC., in a fair

and just amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) plus costs

and any further relief this court deems just.

                                COUNT XV
                SURVIVAL ACTION-LOSS OF CONSORTIUM
               (Meghan Caruso, individually v. All Defendants)

      291.   Plaintiff incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully stated herein.

      292.   At all times relevant to this action, Plaintiff, Meghan Caruso, was the

lawfully wedded wife of John Caruso.




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      293.    As a direct and proximate result of the injuries sustained by Plaintiff,

John Caruso, Plaintiff, Meghan Caruso, was and will be denied his lawful

consortium and the conjugal benefits of his marital relationship including without

limitation loss of support and society.

      294.    While Meghan Caruso’s loss of consortium from October 19, 2017 going

forward is incorporated into the counts of this Complaint brought pursuant to the

Wrongful Death Act, she brings this count for her loss of consortium sustained

before John Caruso’s death.

      295.    WHEREFORE, the plaintiff, MEGHAN CARUSO, individually, asks

that a judgment be entered against the defendants, RUSSO HARDWARE, INC.;

MONSANTO COMPANY, INC.; HOME DEPOT, INC.; MENARD, INC.; and

ARCHER PINES LANDSCAPING, INC., in a fair and just amount in excess of FIFTY

THOUSAND DOLLARS ($50,000.00) plus costs and any further relief this court

deems just.


                                                        Respectfully Submitted,

                                                    By:_____/s/ Bryce T. Hensley
                                                            Attorney for the Plaintiff
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